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“Jay” Sexton, Robert Kaiser, Ace Antonio, Jeanne Weber, William R.
Comery, and Hector Olmo

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

MEGAN SCHAFFER,
Plaintiff,
CIVIL ACTION NO. :

BOROUGH OF PARAMUS; KEN
RASCHEN in his individual and
official capacity; JOSEPH “JAY”
SEXTON in his individual and
official capacity, ROBERT
KAISER, in his individual and
official capacity, ACE ANTONIO,
in his individual and official
capacity; JEANNE WEBER, in her
individual and official capacity;
WILLIAM R. COMERY, in his
individual and official capacity;
HECTOR OLMO, in his individual
and official capacity,

Defendants

 
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TO: Clerk of the Court
United States District Court for the
District of New Jersey MLK, Jr. Building

and U.S. Courthouse
50 Walnut Street

Newark, New Jersey 07102

Gregory J. Hazley, Esq.

DeCOTUS, FITZPATRICK, COLE & GIBLIN, LLP

61 South Paramus Road

Paramus, New Jersey 07652

DEFENDANTS SEXTON AND ANTONIO'S NOTICE AND

PETITION FOR REMOVAL OF A CASE FROM THE SUPERIOR
COURT OF NEW JERSEY, LAW DIVISION, BERGEN COUNTY

Pursuant to 28 U.S.C. §§ 1441, and 1446, Defendants Joseph "Jay"
Sexton and Ace Antonio respectfully submit this Notice and Petition for
Removal of a Case from the Superior Court of New Jersey, Law Division,
Bergen County, bearing Docket No. BER-L-6846-22, and as grounds for
removal show as follows:

I. Introduction

1. On December 27, 2022 2020, Plaintiff, Megan Schaffer, filed
a civil action in the Superior Court of New Jersey Law Division, Bergen
County (the "State Court Action") styled as Megan Schaffer v. Borough
of Paramus; Ken Raschen in his individual and official capacity; Joseph

“Jay” Sexton in his individual and official capacity; Robert Kaiser, in his

individual and official capacity; Ace Antonio, in his individual and
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official capacity; Jeanne Weber, in her individual and official capacity;
William R. Comery, in his individual and official capacity; Hector Olmo,
in his individual and official capacity, Docket No. BER-L-6846-22. A true
copy of the complaint is attached as Exhibit A.

2. The complaint alleges claims arising under Title VII of the
Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42
U.S.C. §§ 2000e. (“Title VI”) (Compl. Count One and Compl. Count
Two)

3. The complaint alleges that through the acts and conduct of
defendants, plaintiff “was treated differently from male co-workers as to
the terms, compensation, conditions, privileges and benefits of
employment and subjected to adverse employment actions, hostile work
environment and retaliation because of her gender were all in violation
of” Title VII. (Compl., Count One, § 2)

4, The complaint further alleges that “As a direct and proximate
result of Defendants’ discriminatory actions, Plaintiff has suffered losses
in compensation, earning capacity, humiliation, mental anguish, and
emotional distress.” (Compl., Count One, § 3)

5. In Count Two of her complaint, plaintiff alleges that

defendants acts and conduct by which she “was treated differently from
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male co-workers as to the terms, compensation, conditions, privileges and
benefits of employment and subjected to adverse employment actions,
hostile work environment and retaliation because of her gender was all in
violation of” Title VII. (Compl., Count Two § 6)

6. Plaintiff further alleges that she has “suffered losses in
compensation, earning capacity, humiliation, mental anguish, and
emotional distress” as a result of defendants’ allegedly discriminatory
actions. (Compl., Count Two, § 7)

7. This Notice of Removal is therefore timely pursuant to 28
U.S.C. §1446(b)(3). Defendant filed this Notice of Removal within 30
days of defendant's receipt of the complaint (Exhibit C).

8. Defendant has not filed an answer or other pleading to the
complaint in the Superior Court of New Jersey.

9. All other defendants in this action consent to this removal.

II. Basis for Removal
10. This action is being removed to this Court pursuant to 28
U.S.C. § 1441 on the basis its jurisdiction to resolve “all civil actions
arising under the Constitution, laws, or treaties of the United States.” 28

U.S.C. § 1331.
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7. The complaint alleges violations federal law and the United
States Constitution, including but not limited to 42 U.S.C. § 2000e
(Compl., Count One f 1-4).

8. The Third Circuit has set forth the standard for removal as
follows:

To determine whether a case “arises under”

federal law, a court must look to the allegations

of the plaintiff's “well-pleaded complaint”...As

generally interpreted, “[A] right or immunity

created by the Constitution or laws of the United

States must be an element, and an essential one,

of the plaintiff's cause of action.”
United Jersey Banks v. Parell, 783 F.2d 360, 365 (3d Cir. 1986) quoting,
Franchise Tax Bd. v. Constr. Laborers Vacation Tr., 463 U.S. 1, 10 (1983)
and Gully v. First National Bank, 299 U.S. 109, 112 (1936).

9. In Parell, the Third Circuit went on to explain that “[a]
corollary of this rule is that the ‘plaintiff is master of his claim and may
choose not to assert a federal right that is available and rely only on state
law’” Parell, 783 F.2d at 365-66, quoting 14A Wright & Miller § 3722 at
266-68 (citing The Fair v. Kohler Die & Specialty Co., 228 U.S. 22

(1913)).
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10. This Court, therefore, has jurisdiction over this action
pursuant to 28 U.S.C. § 1331 because Plaintiff has alleged a claim arising
under the Constitution, laws, or treaties of the United States.

9. Plaintiffs’ remaining claims, under the New Jersey
Conscientious Employee Protection Act, N.J.S.A 34:19-1 to -14 in the
remaining counts of the complaint are integrally related to plaintiffs
federal claims and thus form a part of the same case or controversy.
Accordingly, this Court has supplemental jurisdiction over plaintiff's state
law claims pursuant to 28 U.S.C. § 1367 and this entire case may be
removed pursuant to 28 U.S.C. § 1441(c).

Iil. Al Other Requirements Are Met

9. Venue in this Court is appropriate under 28 U.S.C. § 1441(a),
because this district and division embrace the place in which the State
Court Action has been pending.

10. Pursuant to 28 U.S.C. § 1446(d), defendants have given
written notice of the removal of this action to all adverse parties and has
filed a copy of this notice with the Clerk of the Superior Court of New

Jersey, Law Division, Bergen County.
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11.

IV. No Waiver

By filing this Notice of Removal, defendants do not waive

their right to assert any claims, defenses, or other motions, including, but

not limited to, Rule 12 motions, permitted by the Federal Rules of Civil

Procedure.

V. Conclusion

For the foregoing reasons, Defendants respectfully request that

further proceedings in the State Court Action be discontinued, and that

this suit be removed to the United States District Court for the District of

New Jersey.

DATED:

February 27, 2023

Respectfully Submitted,

/s/ Mary C. McDonnell
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Attorneys for Plaintiff Megan Schaffer

 

SUPERIOR COURT OF NEW JERSEY
MEGAN SCHAFFER, BERGEN COUNTY — LAW DIVISION

Plaintiff,
CIVIL ACTION

v.
DOCKET NO. "
BOROUGH OF PARAMUS; KEN
RASCHEN in his individual and official VERIFIED COMPLAINT
capacity; JOSEPH “JAY” SEXTON in his
individual and official capacity; ROBERT
KAISER, in his individual and official
capacity; ACE ANTONIO, in his individual
and official capacity; JEANNE WEBER, in
her individual and official capacity;
WILLIAM R. COMERY, in his individual
and official capacity; HECTOR OLMO, in
his individual and official capacity;

Defendants.

 

 

Plaintiff, Megan Schaffer, by way of Verified Complaint against defendant Borough of

Paramus, states as follows:
THE PARTIES

1. Plaintiff Megan Schaffer is a 36-year-old adult female individual who resides at
220 Hillside Road, Linden, New Jersey. At all relevant times, Ms. Schaffer was an employee
of the Borough of Paramus.

2. Defendant Borough of Paramus is a municipal corporation organized and existing
pursuant to the laws of the State of New Jersey with a principal place of business at 1 West Jockish

Square, Paramus, NJ 07652.

 

 

 

 

 

 
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3. Defendant Ken Raschen is an adult male and Superintendent of the Paramus Shade
Tree Department.

4. Defendant Joseph “Jay” Sexton is an adult male and Assistant Superintendent of
the Paramus Shade Tree Department.

5. Defendant Robert Kaiser is an adult male and councilmember and resident of the
Borough of Paramus.

6. Defendant Ace Antonio is an adult male and councilmember and resident of the
Borough of Paramus.

7. Detendant Jeanne Weber is an adult female and councilmember and a resident of
the Borough of Paramus.

8. Defendant William R. Comery is an adult male and board member of the Borough
of Paramus Shade Tree Commission and a resident of the borough.

9, Defendant Hector Olmo is an adult male and Borough Administrator of the
Borough of Paramus.

JURISDICTION AND VENUE

10. This Court has jurisdiction over the above-captioned matter because the defendant
public entity is located and conducts’ business in Bergen County, New Jersey. In addition, the
specific events that form the basis for this lawsuit occurred in Bergen County, New Jersey, and all
of the material facts alleged herein occurred in New Jersey.

FACTS APPLICABLE TO ALL COUNTS
11. The Borough of Paramus owns various parks, recreation facilities and green spaces,

and maintains thousands of trees and other greenery along Borough streets and property.

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Maintenance duties are apportioned among the Recreation Department (“Recreation”), Shade Tree
& Parks Commission (“Shade Tree”), and Golf Commission (“Golf”).

12. Since May 2019, Plaintiff has been Director of Recreation for the Borough, after
serving as Assistant Director since June 2018 and applying for the Director position.

13. Plaintiff is a member of the Paramus Supervisory Employees Association.

14. In December 2020, Borough Administrator Joseph D’Arco approached Plaintiff
regarding the potential for the Recreation Department to take over the Turf Division, which
entailed additional duties including managing park maintenance staff, scheduling maintenance
work for playgrounds, playing fields, and park landscaping, among other duties.

15. Plaintiff, having more than 12 years’ experience supervising park maintenance staff
and a park maintenance crew member, accepted the opportunity. No additional compensation or
funding was provided to Plaintiff or the Recreation Department.

16. As of January 1, 2021, Plaintiff was at Step 3 of the governing salary guide and
earning a salary of $94,291

17. Plaintiff was subsequently assigned additional duties include management of ten
(10) baseball fields, four (4) soccer fields, and three (3) lacrosse fields, along with maintenance
duties for property around the fields.

18. In apparent recognition of this increased responsibility, Plaintiff was moved to Step
2 on the new salary guide, earning a salary of $99,826.74, or an increase of $5,337.74, effective
April 1, 2021. While her salary was increased, there was no formal recognition for the additional

responsibilities and her salary remained below the level of similarly situated male employees.

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19, By comparison, the Golf Superintendent, Andrew Schuckers, in 2020, was charged
with maintenance of three (3) additional parks, was moved to Step 5 on the salary guide, and
received a salary increase of $8,710.74 and total salary of $136,255.52.

A. Hostilities from Shade Tree Department

20. In or about early 2021, D’Arco asked Plaintiff to draft a park maintenance plan
under which the responsibilities of the Recreation Department and Shade Tree Department were
split with a goal to eventually transition responsibilities under the Recreation Department.

21. Plaintiff compiled a proposed plan, which D’Arco reviewed and then sent to the
Shade Tree Department for review.

22. Plaintiff, Kyle Van Haasteren, Assistant General Manager of Golf, Joseph Sexton,
Assistant Superintendent of Shade Tree, and Ken Raschen, Superintendent of Share Tree, met to
discuss the proposed plan. Both Sexton and Raschen showed their displeasure that they were not —
involved in the initial composition of the plan.

23. The plan presented had the Recreation Department focusing mainly on playing
fields and playgrounds, and the Shade Tree Commission maintaining shrubs and mulch beds, as
well as some smaller parks.

24. Shade Tree disagreed with this plan and insisted that Recreation take on the
trrmming of the shrubs and mulch bed maintenance at all locations where they maintained the
playing fields, as well, with the exception of Petruska Park.

25. Another meeting occurred on February 12, 2021 between Recreation Staff (Plaintiff
and Van Haasteren), Shade Tree (Raschen), Borough Administrator D’ Arco, Golf Superintendent
Schuckers, Chief Financial Officer Sheri Luna, and Mayor Richard LaBarbiera. At the meeting,

the Mayor assured that everyone understood that the initial plan was going to be very fluid based

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on staff being hired, equipment being ordered, and that everyone was to work together for a
common goal.

26. On March 1, 2021, the Turf Division was transferred to the Recreation Department.

27. Very quickly into the Spring season, the Recreation parks staff was falling behind
due to stalfing issues, as well as a lack of available equipment.

28. Two full-time staff were transferred from Golf, as well as two part-time staff, who
were slated to become full-time on April 1, 2021 but were not actually approved as full-time until
May 15, 2021.

29. Despite the increased responsibilities for Recreation, very little equipment was
made available. such as mowers, enclosed trailers, and trucks. The equipment being utilized had
to be borrowed by other departments because the funds earmarked for the equipment needed to be
approved in the Borough’s capital budget.

30. During this period, Plaintiff began to utilize Recreation Trust Accounts to purchase
vital equipment, although typical wait times were 10-12 weeks for delivery.

31. In mid-April 2021, Plaintiff reached out to Shade Tree requesting assistance with
the trimming of shrubs at the Gennarelli Sports Complex, as it is the largest shrubbed facility in
the Borough and Recreation lacked the equipment as well as staff to complete the job. In return
for Share Trade’s assistance, Plaintiff offered to take a task from them that Recreation could
manage with ils resources.

32. Raschen from Share Tree responded with criticism and refused to provide
assistance. A constant back and forth regarding the maintenance of shrubs and mulch beds went

on for the rest of the year. Despite orders from the Borough Administrator to assist Recreation,

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Shade Tree declined and advised Plaintiff that her staff must do the work for which she requested
assistance.

33. In addition to the administrative conflict, staff members of Shade Tree, including
Raschen, followed Recreation parks staff and antagonized them by yelling derogatory remarks or
criticizing their uniforms. Emails document the unchecked harassment and failure of the Borough
and its employees to rein in the abuse.

34. On April 21, 2021, Plaintiff emailed an Updated Field Maintenance Plan to
Borough personnel. The next afternoon, April 22, 2021, Raschen responded to Plaintiff's email
with criticism of the Plan, advising “[w]e should all stick to the original plan and your staff should
understand all that is involved,” adding “[t]aking on easier tasks and passing off more difficult
ones is not the way to make this transition work.”

35. In May 2021, D’Arco advised Plaintiff that a complaint was filed with a Borough
union against Recreation staffer Kyle Van Haasteren regarding his work attire. Plaintiff sat down
with the union representative, Jay Mastropasqua, and D’Aarco and advised that there is no dress
code under the governing collective bargaining agreement or Borough handbook. Nevertheless,
all involved worked out guidelines going forward consisting of long pants, boots, and t-
shirt/hoodie/long-sleeve shirt. During that time, t-shirts that Plaintiff had ordered came in, So
employees had staff shirts available to them.

36. A few days later, Mastropasqua called Plaintiff and advised that another
anonymous complaint was filed against Van Haasteren, When Plaintiff received the call, Van

Haasteren was in her office, dressed as was agreed in the prior meeting days before.

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37. Plaintiff was advised of suspicions that Shade Tree staff were making the
complaints to harass Plaintiff and her staff, undermine her authority and call into question her
competence.

38. A month later, two Recreation staffers were on duty at Reid Park in the Borough
working on a field when a Shade Tree employee named Glen Suhr called out to the Recreation
staffer and asked hit if he was dressed to code, an acknowledgment that the frivolous dress code
complaints were originating from Shade Tree.

39. Plaintiff emailed Raschen and Sexton about the prior anonymous complaints and
the Reid Park incident on March 26, 2021. asking if they had any issue with her staff and
expressing a desire to “‘put this to rest here and move forward.” Plaintiff received a response from
Borough Administrator D’Arco, who called a meeting with Raschen and Plaintiff.

AO. On September 14, 2021, while trying to cooperate with Shade Tree by taking some
responsibilities off their plate, Plaintiff via email proposed a meeting to discuss how to facilitate
the fall cleanup of Borough parks in the most efficient way. She did not receive a response.

4]. In November 2021, Borough Administrator D’Arco called a meeting with Plaintiff,
VanHaasteren, Sexton and Raschen to discuss the Borough’s Park Maintenance Plan going
forward.

42. In that meeting, D’ Arco again insisted that Shade Tree maintain shrubs and mulch
beds, and that Recreation maintain playing fields, playgrounds, and three additional parks. All
parties lefi the meeting understanding their responsibilities.

43. Following the meeting, Plaintiff updated the Borough’s Park Maintenance Plan and

emailed it to everyone involved. Plaintiff received no response from Shade Tree.

 
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44. Over the winter months from 2021-22 the Recreation park staff completed fall
cleanups, repaired and serviced equipment, took on park improvement projects, assisted with
Recreation responsibilities such as equipment transport, and conducted snow removal operations
throughout the parks and golf course.

45. During the course of the winter, Raschen continually texted Plaintiff during snow
events with criticism or self-described “reminders,” even though such oversight and criticism was
not part of his job duties.

46. Throughout the entire fall and winter, Plaintiff worked with the DPW Director Guy
Picone, as well as Mastropasqua and Deborah Smith to procure two park maintenance vehicles
that were approved in the 2021 capital budget. Unfortunately, available inventory was slim to
none, and any vehicle purchased under State contract or co-op was estimated to take 30 weeks for
delivery.

47. Picone advised that the Borough should put together bid specs, go out to bid, and
see if any vehicles could be procured sooner than 30 weeks.

48. Plaintiff placed a request to go to bid on the agenda for the February 22, 2022
Mayor and Council meeting, but was advised the following day that the request was tabled.

49. On February 23, 2022, Recreation had its February meeting. At the meeting,
Plaintiff questioned Councilman Joseph Vartolone, the Recreation liaison for the governing body,
about the posting of bid specs being tabled, and asked him for an explanation. Vartolone stated
that money was very tight im the Borough and that Chief Financial Officer Luna received all
requests, which would then be reviewed. At that time, Plaintiff repeated to Mr. Vartolone: “So
you are reviewing all of the Capital Funding that has not been spent yet, even if it was approved

from last year?” He stated yes.

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80. The next day, February 24, 2022, Plaintiff emailed both Recreation council liaisons
(Vartolone and Robert Kaiser), expressing the importance of the vehicles requested, and asking
for an explanation as to why they were being tabled, after they were already approved in the 2021
capital budget. The explanation received was the same as the evening before: that they wanted to
wait until the Borough CFO reviewed all of the capital requests before approving the vehicle
request.

SI. The council liaisons did not advise Plaintiff of the actual reason the vehicles were
being tabled: because the council was debating whether to move park and field maintenance from
Recreation back to Shade Tree.

52. Advised of this ulterior reason, Plaintiff was surprised as the major change had
never been discussed or even mentioned to her, particularly as the fields had been removed from
Shade Tree originally because of the poor quality of maintenance they provided.

53. A resolution to go out to bid for the vehicles was not approved until March 22,

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84, On March 2, 2022, the Borough Adminisirator’s Assistant, Patricia Smith, asked
Plaintiff at Borough Hall if Councilman Kaiser had spoken to her about winterizing park irrigation
systems. After Plaintiff advised Smith that Plaintiff was not aware of any such issue, Plaintiff was
advised that someone had told Councilman Kaiser that Plaintiff spent $7,000 on winterizing the
park irrigation systems and that Shade Tree could do the winterization work in-house. Kaiser had
repeated the claim to others, apparently without checking its veracity.

55, No one from the Borough council, or any other Borough official, ever came to
Plaintiff to question the purported excessive expense and Borough employees instead continued

to speak poorly about Plainuff’s management skills on the winterization issue and other issues.

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The same day, Anne Schneider, the Director of the Senior Activity Center, stated to Patricia Smith
that she heard there was going to be “big changes” in the Recreation Department, citing
Councilwoman Jeanne Weber as the source of the warning.

56. In a conversation between Plaintiff and Councilman Kaiser, Kaiser noted that
Shade Tree has the ability to winterize park irrigation systems with a compressor from DPW.
Plaintiff informed Kaiser that she was aware of the false accusation by Shade Tree that she had
spent 37,000.00 to winterize the park systems and explained that the amount was nowhere near
that amount; indeed, the expense for winterizing irtigations systems in all parks was $2,600.

57, Plaintiff also advised Kaiser that at no time did Shade Tree advise Recreation of an
ability to winterize the irrigation systems utilizing DPW’s compressor.

58. Nevertheless, Plaintiff spoke with her Assistant Director of Park Maintenance >
Kyle VanHaasteren, about the possibility of utilizing DPW’s compressor to winterize the irrigation
systems, and be explained to Plaintiff that the larger irrigation systems require a certain volume of
air, at a minimum of at least 100 psi in order to duplicate the volume of water that runs through
the system. He continued by explaining that DPW’s compressor would not necessarily produce
that pressure, not only taking an extensive amount of time complete the task, but also with no
msurance or warrant if a mistake was made while do so, a key consideration where improper
winterization could result in thousands of dollars in damage. This was confirmed by Eric
Ficischmann of Paramount Irrigation Inc.

59. Plaintiff noted to Kaiser that when bringing in a vendor to perform winterization,
they are certified professionals who also inspect the irrigation system for cracks and leaks, test

seals, and otherwise assure the job is fulfilled completely. In the event an error occurs, the vendor

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becomes responsible for any breakdown. If untrained Borough staff performs the task and makes
a mistake, Recreation is on the hook for the additional repairs.

60. Indeed as Borough personnel and elected officials are aware, the Borough Golf
Course contracts an outside vendor to winterize the irrigation systems for these very reasons, but
ho one has criticized Golf personnel for this expenditure nor alleged it represents irresponsible
spending.

61, Once again, Plaintiff was being held to a different standard than other male
department heads.

62. _ As time passed. Plaintiff continued to hear rumors of fallacious or false actions or
omissions by Plaintiff and Recreation staff — all intended to cast Plaintiff in a negative light and
question her competence _ that Shade Tree personnel had been reporting to council members, and
that these false accusations were openly discussed in at least one public meeting of the Mayor and
Council.

63. In another example, on or about February 23, 2022, Plaintiff made a request to
Shade Tree for mulch to be delivered to Sirianni Park, but was advised the next day by Shade Tree
that its wood chipper and/or grinder, which creates mulch for Borough use, was out of service and
that she would be notified when it was back in use.

64. On or about March 18, 2022, a Borough resident complained about the appearance
of the Parkway Plex, a sports field facility. In previous seasons, local residents made complaints
about the landscape appearance of the Burke Street entrance to the facility. In response to the
resident, who had made such complaints in the past about the same issue, and mindful that the
woodchipper was out of service, Plaintiff went to Home Depot and purchased $60 worth of red

mulch ~- fewer than 12 bags — for the entryway to the park near Burke Street.

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65. At the March 22, 2022 meeting of the Mayor and Council, the issue of the so-called
irresponsible winterization purchase was discussed, along with the purchase of the mulch, again
without any clarification of the actual facts or push-back against the false claims, and without any
attempt to contact Plaintiff for context or background behind the distorted allegations.

66. The day after the meeting, Plaintiff received a phone call from Councilman and
recreation liaison Kaiser, who said he wanted to inform Plaintiff, in case Plaintiff wasn’t aware,
that the Borough makes free mulch available for its operations, and that there was no need to
purchase it,

67. Plaintiff explained to Councilman Kaiser that she had been working at the Borough
for four years and was well aware of Borough mulch, but that the last time she requested mulch
from Shade Tree (February 23, 2022), she was informed that the woodchipper was broken, and
that they would update her when the status changed. No such change in status or update was
provided.

68. At that point, Plaintiff realized that someone had called Councilman Kaiser to
report that Plaintiff purchased mulch to make Plaintiff appear fiscally irresponsible or incompetent.

69. Indeed, Plaintiff asked Councilman Kaiser if someone had called him to tell him
that Plamtiff had purchased mulch, and he stated yes, although he was not aware of how much
mulch was purchased. After Plaintiff explained why she had purchased the very minimal amount
of mulch, Councilman Kaiser admitted that he would have done the same thing.

70. In the same conversation, Plaintiff expressed concern to Councilman Kaiser that
Shade Tree would have had to have been following her and inspecting the parks in order to know

that she had purchased the minimal amount of mulch.

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71. Notably, in mid-April, while driving past the Borough Golf Course, managed by an
all male commission, Plaintiff observed approximately 15 yards of black mulch purchased from
an outside vendor at a cost of $1,312.00, substantially more than the amount for which Plaintiff
was questioned and for which no complaint was made or raised.

72. The winterization and mulch issues were part of a pattern of harassing behavior by
Shade Tree personnel against Plaintiff, who lodged bogus or trumped-up complaints to elected
officials about Plaintiff to undermine her position and create doubt about her abilities, while
making no such complaints or allegations about her male counterparts.

73. Prior to the parks being moved to Recreation, Borough baseball/softball fields were
under the direction of the Golf Superintendent, Andy Schuckers, a middle-aged male, who was
performing the same duties as Plaintiff, purchasing the same items, and utilizing vendors to do the
same tasks; yet the accusations directed at Plaintiff were never made toward him.

74. On March 4, 2022, Plaintiff emailed Shade Tree Director Raschen that she saw his
staff at Petruska Park (a park where Shade Tree has always maintained the landscaping) and that
tt looked great. Plaintiff asked if Raschen could let her know when his staff would be visiting
other parks to trim the shrubs and maintain the mulch beds so that Plaintiff could assure winter
cleanups were completed as per the November 2021 agreed-upon Park Maintenance Plan.
Raschen ignored the email and never responded.

75. On March 9, 2022, Plaintiff was notified of a large issue with a well pump at the
Parkway Plex Park that had a direct impact on the irrigation system not working at full capacity.
Plaintiff emailed Shade Tree and DPW asking if they had any vendor recommendations, so that

she could get more quotes for the job. Rather than assisting in any way, Raschen stated, “Jay

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[Sexton] designed the original system. I question why Kyle [Van Hassteren] did not reach out to
us for help troubleshooting.”

76. On March 23, 2022 Plaintiff met with new Business Administrator Hector Olmo
and grant writers about some park projects. After the meeting, Plaintiff asked Olmo if she could
speak to him privately.

B. Plaintiff Details Campaign of Harassment

77. During the subsequent mecting, Plaintiff and Olmo discussed all of the ongoing
accusations by Shade Tree, the ongoing harassment, and the council’s possibility of moving park
responsibilities. Olmo stated that Plaintiff was being given the opportunity to “prove” herself and
her staff’s abilities.

78, Plaintiff explained to Olmo of the conflict over the past year in regard to shrubs,
mulch and a lack of staff and equipment. He stated that Plaintiff and her department were being
given the opportunity to do the job and the Borough would “see how it goes.”

79. Plaintiff repeatedly advised Olmo that if Shade Tree wants control of the parks that
badly, and if Plaintiff and Recreation staff are going to be harassed again this year or continually
held to a different standard, then Shade Tree can have the parks and Plaintiff will return to directing
Recreation as it was before the transfer.

80. On March 28, 2022, Plaintiff received an email from Borough Administrative
Assistant Patricia Smith requesting a meeting with Plaintiff and Shade Tree Director Raschen for
the next morning at 9:30AM. Plaintiff and Raschen both agreed.

81. On March 29, 2022, Plaintiff attended a meeting at Borough Hall with Borough

Administrator Olmo, Councilman and Recreation haison Kaiser, Councilman and Shade Tree

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liaison Ace Antonio, along with Raschen and Sexton. Notably, Sexton was not invited to this
meeting but showed up and was admitted.

82. During the meeting, the administration advised the parties in attendance that the
purpose was discuss the current park maintenance plan and to ensure that the work was getting
done, regardless of who was doing it.

83. During the meeting Raschen criticized Recreation and Plaintiff for purportedly
changing the field plan multiple times and, unsolicited, touted the experience he and his assistant
(Sexton) had in complaining that they were not included in the initial planning process.

84. Asked what his issue was with the then-current plan in place (dated 11/9/21),
Raschen stated that he did not want his department (Shade Tree) to be responsible for cutting
shrubs or mulching parks where Recreation was maintaining playing fields at the same location.
He made it clear he wanted nothing to do with Plaintiff or her department.

85. Plaintiff politely advised all in attendance that she was willing to do whatever job
duties that she was directed to do, but noted Recreation did not have the equipment to do such
work while Shade Tree already owned and used the equipment for that very purpose. She also
stated that Shade Tree utilized its tree trimming crew to maintain the shrubs in parks, and not their
park management staff, which provided more assistance. Raschen responded dismissively that
Plaintiff's remarks were “irrelevant,” criticized her staff and her leadership of same, including
questioning why Recreation did not maintain certain parks over the winter, and stated that
landscape areas in the parks under Recreation looked “terrible.” Plaintiff stated that the field plan
agreed upon on 11/9/21 required Shade Tree to be responsible for the shrubs and mulch beds at all

parks and noted Recreation staff was not responsible for such duties and would not have done them

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over the winter. As such, Raschen’s criticisms were not only unprofessional, but they were flat
out erroneous.

86. Councilman Kaiser spoke up and called Raschen out on the fact that he blatantly
disregarded the ficld plan with assigned job duties agreed upon in November simply because
Raschen did not now like the plan. Kaiser noted that Raschen was trying to make it appear to
everyone in attendance that Plaintiff and her staff were not doing their jobs properly, when in
reality, hc was misstating facts and lodging false criticism for work that was not their job to do.

87. Raschen did not address the correction of his falsehoods and stated only that Shade
Tree staf was busy with other items.

&8. Also during the meeting, Sexton made Plaintiff aware for the first time that the
mutch chipper was now in working order. As such, Plaintiff requested 15 yards of mulch to be
delivered to Sirianni Park.

89. Despite the unfounded criticism, the meeting concluded with Plaintiff stating that
she would take back the shrubs and mulch because she did not find it necessary to argue over job
duties and that she was willing to do whatever is asked of her by her superiors.

90, As the meeting ended, Plaintiff was preparing to leave, when Olmo asked her to
stay. After Shade Tree staff left and Plaintiff remained with Olmo, Kaiser, and Antonio, the three
men commented that Shade Tree was blowing the shrubs and mulch issue out of proportion, stated
that the meeting was “ridiculous” and could have been sorted out in an email, and they thanked
Plaintiff for being so accommodating.

91. Plaintiff’ explained to them that she did not ask for the additional park
responsibilities, and when she agreed to them, certainly did not agree to being followed, harassed,

and defamed by Shade Tree personnel. She stated that the things that Shade Tree personnel were

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taking pictures of, or going around telling people that Plaintiff was doing, were either untrue or no
different than what other department heads were doing with no repercussions or complaints.

22, Before leaving Borough Hall, Plaintiff spoke with Kaiser and Olmo one last time,
where she expressed that she had no issues taking on the shrubs and mulch maintenance going
forward, but that she did not feel as if it was right that her staff would be responsible for doing the
work that Shade Tree chose not to do all winter because they did not like the plan.

93. Piaintiff noted that she had five (5) full-time staff, while Share Tree had more than
three-times as many. Recreation had no vehicles while Shade Tree had a dozen.

94. Olmo and Kaiser agreed and asked Plaintiff to send Olmo a list of parks that Shade
Tree was responsible for over the winter and chose not to maintain. Plaintiff sent the list to Olmo
when she returned to her office that day.

95. On Thursday, March 31, 2022, Plaintiff underwent major shoulder surgery and
spent the weekend recuperating and unavailable.

96. By Monday, April 4, 2022, Plaintiff was able to begin moving better, check emails
and do some work from home. It was at that time, that Plaintiff noticed an office voicemail and
email from Councilman Antonio, asking her to call him. She emailed him immediately, advising
the Councilman that she had shoulder surgery but was available to speak when he was free.

97. Antonio called Plaintiff shortly after and explained that he was calling to apologize.
When Plaintiff asked what he was apologizing for, he stated that he was apologizing that Plaintiff
had to deal with Shade Tree and everything that had to do with the meeting last week.

98. During the near hour-long conversation, Antonio advised Plaintiff that Shade Tree
had been working for months, since November, to return parks back in their purview by repeatedly

criticizing Plainuff and her staff. He noted Raschen or his staff had sent councilmembers scores

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of photos of Recreation department work in a bid to undermine and improperly cast doubt on
Plaintiff's performance.

99. Antonio noted that Raschen contacted Councilman Kaiser as early as 5 am. on
certain days to complain about Recreation work directed by Plaintiff. He noted that even after the
March 29, 2022 meeting, Raschen emailed Antonio and Councilwoman Jeanne Weber that Shade
Tree should get the parks back, ostensibly due to Plaintiffs failures.

100. Plaintiff explained to Antonio that she and her department were set up to fail from
the start by being assigned park duties without proper equipment or staff and that when she reached
out to Shade Tree for assistance, they ignored requests or provided criticism and limited, if any,
assistance. She noted Shade Tree staff followed Recreation employees and harassed them for a
year, and made various false accusations about Plaintiff and her job performance. She advised
Antonio that she was tired of being harassed, discriminated against, and defamed.

101. Antonio agreed with Plaintiff and told her she had every right to feel as she did. He
noted that if Raschen and Sexton worried more about their actual responsibilities than Plaintiff's,
the Borough would receive fewer complaints.

102. Plaintiff advised Antonio that if Shade Tree wanted the parks back so badly, they
could have them because she could not work under the existing conditions and the months-long
campaign of harassment any longer. He advised Plaintiff that the issue would be handled properly.

103. On the morning of April 6, 2022, Plaintiff received a phone call from Councilman
Kaiser, who noted that after the March 29 meeting, Raschen and Sexton undermined Kaiser and
Olmo by emailing Councilwoman Weber and Councilman Antonio that Shade Tree needed to get
the parks back due to Plaintiff’s alleged failures. Raschen was unhappy with two things from the

mecting: (1) that Katser called Raschen out in the meeting about ignoring his responsibilities over

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the winter because Raschen did not agree with the plan, and (2) that Olmo directed him to complete
the tasks that Shade Tree chose not to do in the winter.

104. Plaintiff told Kaiser that she “had enough.” She noted that when she agreed, on
request, to take on the parks responsibilities, she had not agreed to be harassed daily and held to a
different standard than everyone else.

105. Kaiser said he did not want to give the parks back to Shade Tree because Raschen
complained enough to get them back, and that Shade Tree could not even handle their own
department responsibilities. He added that he had been advised that Raschen, Sexton, or someone
else from Shade Tree. was going to be attending the Mavor and Council meeting that evening.

C, False Allegations Aired Before Mayor & Council

106. The next morning, Plaintiff received a phone call from Mayor LaBarbiera, who
asked Plaintiff if she had spoken to her council liaison yet, to which Plaintiff advised him that she
had not. She asked the Mayor what happened at the meeting the night before.

107. LaBarbiera told Plaintiff that Shade Tree Commissioner William Comery spoke
during the public session of the meeting as a “concemed citizen” and ranted about Recreation/parks
staff and Plaintiff's leadership, making several false accusations regarding paid overtime (when
no overtime was incurred or paid), ripping out a $1,500 rose bush purportedly because Recreation
didn’t want to take care of it, alleged unsafe playground conditions that he said he witnessed when
he and Raschen were out marking trees and sua sponte decided to measure the levels of mulch on
Recreation playgrounds, as well as other de minimus and distorted issues that only Raschen and
Plaintiff had discussed in emails but that had reportedly been shared with others by Raschen and

were now being discussed in a public meeting.

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108. Comery stated in the public meeting that no one is qualified to do the job in
Recreation and that Plaintiff's staff was not supervised.

(09. Alarmed by the false allegations made at a public meeting, including the content of
intcrnal emails, Plaintiff immediately sent a message to Councilman Kaiser, who called her. She
again expressed very strongly that she no longer wanted park responsibilities and everything that
came with it, including the harassment, defamation, bullying, discrimination and hostile work
environment that had been ongoing for a ycar.

110. Comery’s comments, although purportedly made as a concerned citizen, exhibited
personal knowledge of email communications between Plaintiff and Shade Tree and attempted to
distort several simple issues and make false statements to portray Plaintiff and the Recreation
Department under her leadership in a negative light.

Ill. In the conversation, Plaintiff told Kaiser that she was being treated unfairly and
being held to a different standard than other department heads. She noted the Shade Tree unit was
the most complained-about department in the Borough by the public, its personnel ignored their
winter park responsibilities clainaing to be too busy, and yet spent hours monitoring and surveilling
the work that Plaintiff was doing. No one from the Borough rebuked Shade Tree staff, told them
to stop, or held them accountable in any way for their actions against Plaintiff or their own failures
to complete tasks.

112. On the flip side, Plaintiff was being subjected to intense scrutiny — questioned and
criticized by Shade Tree, and consequently by Borough officials, about most decisions she made
and the actions she took in the Recreation department.

13. Kaiser acknowledged to Plaintiff that she was being treated unfairly and confirmed

that the only complaints about her and her department were arising from Shade Tree.

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114. Plaintiff advised Kaiser that she would be filing a grievance for these actions, and
he responded by telling her that he didn’t think that was necessary because they were going to
handle tt.

115. Plaintiff advised Kaiser that if she was a 55-year-old male sitting behind a desk,
Shade Tree would not feel empowered (and unfettered) to question her abilities and qualifications,
and the council would not be listening and validating the criticism. She advised Kaiser that she
was being held to a different standard because she was female.

116. Plaintiff also told Kaiser that she wanted the opportunity to speak the truth to the
accusations made to the council and he recommended that Plaintiff put her response in a brief
email — he stressed that it should be short in length — rebutting the phony claims.

117. Plaintiff drafted a rebuttal to the fallacious and false charges and emailed it to
Katser and Olmo. But no one responded to the email and it was never shared with the rest of the —
council, as requested.

118. Kaiser’s instruction to keep her response brief and attempt to dissuade her from
filing a grievance made it clear to Plaintiff that he did not want her to elaborate on her feelings of
harassment, bullying and intimidation. She believes that because she did include such information,
the emai] was never shared.

119. Over the next few days, Plaintiff had phone and text interactions with Councilman
Antonio in which he expressed that the conflict needed to be resolved and that the Borough was
going tu do everything that they could to resolve the issue.

120. Antonio advised Kaiser that if Plaintiff felt she needed to file a grievance, that she

should. Antonio stated that it was well overdue and he probably would have filed one already.

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121. On Friday, April 8, 2022, Plaintiff received a call from Councilman Antonio in
which he asked Plaintiff to send him every single picce of paper Plaintiff had in regard to the
transition of parks. He stated that he was going to spend the weekend reviewing everything in
order to come up with some type of solution that is best for the Borough.

122. Plaintitf agreed and emailed him later that night.

123. Shortly after the phone call with Antonio, Kaiser called Plaintiff and told her that
he believed the issue was solved. It was clear to Plaintiff that the two councilmen did not
communicate with one another because Kaiser said that he and Administrator Olmo had just met
with Shade Tree for more than two hours, putting them “in their place,” and telling them to worry
about their jobs, and their jobs only. Kaiser said they advised Shade Tree to leave Plaintiff alone,
and ordered them to do the work that they did not do the prior weekend. Kaiser assured Plaintiff
“they got the message.”

124. When Plaintiff told Kaiser that she still planned to file a grievance, he reiterated
that “they got the message” and would not be bothering Plaintiff anymore.

125. Kaiser continued by telling Plaintiff that he did not think that Raschen told Comery
any of the information Comery shared at the public council meeting, because when it was
addressed, Kaiser said that Raschen seemed “embarrassed” that Comery said any of those things.

126. Plaintiff advised Kaiser that Raschen was the only one who could have shared the
email information with Comery — the emails were solely between Plaintiff and Raschen — and that
Comery stated that Raschen was with him when they were measuring the playground mulch.
Plaintiff suggested to Kaiser that Raschen was embarrassed because Comery publicly spoke the
lies Raschen told him about Plaintiff and now they were being called out and proven to be untrue.

D, Plaintiffs Grievance is Filed and Ignored

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127, On April 12, 2022, Plaintiff filed a grievance with Administrator Olmo and union
representative Cynthia Holmes detailing harassment and the hostile work environment she faced.
Both responded that the grievance was “received.”

128. Also on April 12, 2022, prior to sending the grievance, Plaintiff sent Olmo a list of
equipment that was needed for Recreation to take on the new responsibilities of shrub trimming.
Olmo did not respond to the email.

129. When Plaintiff later saw Olmo in person, she asked about the equipment email and
he advised her that if Recreation had the money in its budget to purchase it, then Plaintiff should
do so. Plaintiff explained that she did not, but that she was given additional job duties that require
the equipment, and that she would have to take the money from a Borough trust account.

130. Over the next ten (10) days, Plaintiff spoke with Administrator Olmo several times.
During those encounters, the situation with Shade Tree was casually mentioned on multiple
occasions but no formal interview was ever conducted. Plaintiff expressed to Olmo that she
wanted the incidents to be documented and acknowledged, and for Shade Tree to be held
accountable for their actions, so that if they continued to occur, there was a documentary record.

131. On multiple occasions, Olmo stated that Plaintiff's department was being given the
opportunity to “prove” itself.

132, As to the Shade Tree harassment, Olmo nonchalantly agreed with Plaintiff and
laughed about how ridiculous the issues were; he stated that he Just wanted everyone to worry
about the jobs they are assigned to do. Olmo’s attitude struck Plaintiff as very similar to when
Shade Tree left the meeting on March 29, and everyone mocked their behavior, acknowledging

how wrong it was, yet doing nothing about it.

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133. Plaintiff reiterated to Olmo that she was tired of being harassed, treated differently,
and that if she was a middle-aged man, she would not be facing the issues she faced daily.

134. On April 26, 2022, after the 10-day period to respond to Plaintiff's grievance had
passed, union representative Holmes emailed Plaintiff and Olmo, asking for the status of Plaintiff's
grievance, because Olmo had not yet responded.

135. Olmo called Plaintiff's office and stated that he had “misunderstood” her email,
and thought that she was just sharing her intentions of filing a grievance, not that, it was her actual
grievance. He nevertheless went on by stating based on Plaintiffs union contract the next step
would be to bring it to the Mayor and Council, and now that he had exceeded the 10 days to
respond, Plaintiff had every right to do so.

136. Plaintiff explained to Olmo that she recognized that Olmo said it was a
misunderstanding. She advised him that she would prefer for it not to go to Mayor and Council
and instead allow him the time to proceed at Step 1, and restart the 10 days to respond.

137. Olmo agreed to that course and to respond to the grievance to union representative
Holmes.

138. Olmo then responded to Holmes that he misunderstood the purpose of Plaintiff's
grievance email and had not done an official investigation, but that he had spoken to everyone
involved “unofficially.” He also acknowledged that without Plaintiff filing a grievance, that he
recognized there was an issue at hand.

139. Plaintiff responded by stating what she and Olmo had discussed, and the 10-day

period of Step | commenced anew.

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140, [n the meantime, Plaintiff felt the need to keep Olmo and Kaiser updated on the
status of the parks so that when Shade Tree continued to question Plaintiff and her staff's actions,
they were ahead of it.

14]. At some point Olmo asked Plaintiff to send him any reports from the Certified
Playground Inspector that Plaintiff brings in annually to assure to safety of all Borough
playgrounds. She sent the then-current report, which showed all playgrounds were satisfactory
and only needed some additional mulch for “aesthetics.” Plaintiff also included a list of parts that
needed to be replaced. She received no response.

142. On April 27, 2022, Olmo called Plaintiff's office and asked if she had a resume that
she could send him so that he could “knock the wind out of some sails.” When Plaintiff asked what
herresume had to do with the wind in anyone’s sails, he explained that he was trying to discredit
Comery and his accusations.

143. Plaintiff reminded Olmo that Comery told the council in a public meeting that
Plain! was “draining” an overtime account, an outright lie that was easily debunked by
documentation and that Olmo had discredited himself. Olmo acknowledged Plaintiff's statement
and ended the call.

144. Plaintiff was dismayed by the call and did not feel the request for her resume and
Olmo’s stated purpose to address Comery’s claims was appropriate, particularly in the short period
alter Plaintiff filed a grievance relating to the matter and particularly in light of the extended
campaign of harassment questioning her credentials and stewardship of the Recreation
Department. Nevertheless, Plaintiff, recognizing that she should heed a request from the Borough

Administrator, sent Olmo her resume on April 28, 2022.

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145. Throughout.the month of April, mainly after she filed her grievance, Plaintiff
received daily texts or calls from Councilman Kaiser about items needing repair at parks, items
that he claimed came from residents but were originating from Shade Tree personnel.

146. On one occasion, Kaiser met Plaintiff at Mele Park to show her “mold” on a
playground it was not mold, but residue from leaves fallen from a tree — and to advise Plaintiff
that mulch needed to be put into the playground. Plaintiff reminded Kaiser that she already made
the mulch request as indicated in her weekly report that she had alrcady provided to him, and which
he said was helpful.

147, The same day, Kaiser texted Olmo a picture of a crooked baseline on a baseball
field and asked him to ask Plaintiff to fix it, an odd request that, to Plaintiff, was the latest in a
catnpaign of small issues raised by Shade Tree personnel under Raschen that constituted continued
harassment and questioning of Plaintiff's qualifications.

148. On May 5, 2022, Olmo informed Plaintiff that he spoke to the joint insurance fund
and requested a risk assessment on Borough playgrounds. Plaintiff advised Olmo that she had a
playground inspection on March 16, had emailed him the list of playground equipment that needed
to be replaced, and that he did not respond the email. Olmo stated that the assessment would just
be another check, so that the Borough had a baseline risk assessment. Plaintiff asked Olmo to
provide her the most recent and any past risk assessments that had been done while Share Tree had
the responsibility for the playgrounds and he could not.

149. On Friday, May 6, 2022, Olmo emailed Plaintiff and advised her that her grievance
had been denied based on the following: “I have reviewed the allegations contained in the e-mail
and have also reviewed both the notes of the meeting referred to therein as well as the audio

recording. At this time, | am denying the grievance at Step 1 of the grievance procedure.”

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150. On Monday, May 9, 2022, the joint insurance fund emailed Plaintiff to set up a date
for the playground inspection, but after Plaintiff confirmed the date and noted the March
inspection, the fund responded that the risk assessment was not necessary due to the recent
inspection. Olmo intervened in the email conversation to say he was a new administrator and
wanted a new “baseline” assessment, even though the insurance fund had said it was superfluous.

ISI. On May 10, 2022, Plaintiff filed to take her grievance to Step 2 of the grievance
process, under which the Mayor and Council and/or its designate shall host a meeting within 30
days and a response shall be given within 20 days.

152. On May 12, 2022, Plaintiff sent an email to Kaiser and Olmo to update them on
parks and inquiring whether Shade Tree would be fulfilling the maintenance duties that they
neglected all winter, including thorn bushes at Parkway Plex that were overgrown and dangerous
to those using the park, and public garbage receptacles that were not being emptied. Plaintiff
received no response.

153. Later that day, Plaintiff was notified by Van Haasteren that a Share Tree employee,
Chris Peironzio, was on the baseball fields at Petruska Park, taking pictures of the facilities.
Plamtiff walked to the park and observed Petronzio as reported. Plaintiff immediately texted
Council Liaison Kaiser about the incident and he responded saying he did not hear anything about
it, Subsequent emails from Plaintiff to the administration about reoccurring incidents like this or
where Shade Tree staff harassed Recreation staff, received no response.

154. On May 20, 2022, after Plaintiff sent an email expressing to the administration and
Council the continued harassment she faced, Councilman Antonio visited her office to “check on”

her. During the visit, he acknowledged the unfair treatment and stated in front of Recreation

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Leader Daniel Conte that he has told Councilwoman Jeanne Weber to stop taking rides to the parks
with William Comery to highlight imperfections in Plaintiffs work.

155. On May 26, 2022, Councilman Antonio visited the Borough pool where Plaintiff
was working with Assistant Director Ed Grill and Recreation Leader Daniel Conte. Antonio
advised Plaintiff of another recent attempt by Shade Tree personnel to discredit Plaintiff's work
by taking photos and reporting a purported unsafe basketball hoop to the councilman, rather than
to Plaintiff or her department. Councilman Antonio advised Plaintiff that he would file another
grievance if he was her and would continue to do so until someone listened.

136. On or about the same day, Shade Tree advised Councilman Antonio that Plaintiff
was responsible for putting up road signs announcing the Borough’s Fourth of July celebration
and that her department had failed to do so. Plaintiff advised Antonio and Olmo via email that the
signage was never her or her department’s responsibility and that, in any event, Recreation did not
possess the bucket-truck and lift equipment to do so.

157. On June 9, 2022, Plaintiff received a “Rice” Notice stating that the Mayor and
Council may discuss her employment at its upcoming June 14, 2022 meeting, or five days after
the 30-day time period for a meeting under the contract.

158. Plaintiff responded to the Rice Notice the same day with a request that any
discussion of her employment be held in closed session, requesting permission to attend the closed
session with counsel, and requesting that the closed session be recorded. She did not receive a
response.

159. Without any response, Plaintiff reached out to the Borough clerk seeking a response
to her requests regarding the Rice notice. It was still not clear to Plaintiff why she was being sent

the Rice notice and/or if it was to host a hearing on her grievance complaint.

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160. On June 10, 2022, Borough counsel via email advised the Borough Clerk and
Borough Administrator that “[iJt will be up to the governing body to determine how they want to
conduct the review of the grievance,” adding that “[t]he governing body may allow the grievant to
be in attendance but is not required to,” and that “[t]he governing body may allow the grievant to
speak, but is not required to.” He advised that the closed session would not be recorded “as that
is not required under the law, only that reasonably comprehensive minutes are kept.”

161. That same day, Olmo called Plaintiff and requested that she stop by his office. In
the ensuing meeting, Olmo made several contentions for the first time:

a. that Plaintiffs union representative came to him regarding Plaintiff's
grievance hearing on June 14.

b. the reason he never contacted Plaintiff to request an extension was that he
is not supposed to communicate with a grievant during the grievance
process and could only communicate with the union president.

he was under the impression that the union representative was in contact

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with Plaintiff; so Olmo himself never contacted Plaintiff.
d. the union president Holmes advised Olmo that a five-day extension on
Plaintiff's grievance process was okay.
158. Plaintiff reminded Olmo that she filed the grievance, not the union, and per the
contract she was the only person who could agree to the terms of an extension.
159. Notably, and as Olmo was well aware, union representative Holmes is the
representative for both Plaintiff and Raschen, presenting a conflict of interest in acting on either

party.

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160. _ On June 10, 2022, Olmo emailed Holmes asking for confirmation that she agreed
to a five-day extension for a grievance hearing to be held on June 14, 2022. Holmes immediately
went to Olmo’s office and told him she had never agreed to such an extension and that she assumed
Olmo had spoken to Plaintiff about the purported extension and that it was agreed upon.

161. Holmes also noted to Olmo that there was never any formal request for an extension
nor any formal notification of a grievance hearing.

162. Despite the five-day extension, the 30-day period to hold a hearing under Step 2
had already expired.

163. Plaintiff advised Olmo that she had not been contacted by Holmes at any time.

164, At no time did the Borough conduct a hearing on Plaintiff's grievance.

1635. On June 13, 2022, counsel for Plaintiff advised the Borough that it was representing
her with regard to her grievance, Counsel for the Borough via letter dated June 14, 2022 responded
and advised Plaintiff through counsel that the grievance was not answered by the Borough and is
therefore deemed denied under the collective bargaining agreement. The Borough had made no
effort to investigate the allegations of Plaintiff's grievance as to harassment and hostile work
environment.

166. Two months later, on or about August 9, 2022, counsel for the Borough contacted
Plaintiff and said it was in reference to her “complaint.” Plaintiff advised Borough counsel that
she was represented by counsel — the Borough was already on notice of this — and referred her to
her counsel.

167. Prior to this, Olmo asked to meet with Plaintiff and informed her that Borough
counsel would be reaching out to begin an investigation on my complaint. When asked why it was

taking place months after the grievance was denied, Olmo stated that they could not conduct an

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employee complaint investigation sooner due to grievance procedure and an unexplained “conflict
of interest.”

168. Asked for clarification, Borough counsel advised that it was investigating
Plaintiff's “complaint.” When asked for a copy of the complaint to which counsel was referring,
counsel produced Plaintiff's April 12, 2022 grievance email and highlighted certain portions of it
relating to allegations of a hostile work environment, interference, intimidating and hostile acts.

169. On August 9, 2022, Plaintiff was asked to attend a meeting with Councilman Kaiser
and Administrator Olmo. She attended with Assistant Director Grill and upon arrival Councilman
DiPiazza was also in attendance.

i70. During the meeting, Olmo proposed the “temporary” transfer of three Recreation
maintenance workers to Shade Tree. Plaintiff suggested an alternative for the two departments to
collaborate that didn’t require transfers; all present agreed that the compromise was reasonable
and Olmo would talk to Shade Tree. Plaintiff never heard about the issue again and when she
followed up did not receive a response.

171. Also during the meeting, Olmo proposed transferring the Borough Pool to the
Recreation department as the DPW Director no longer had time to oversee the pool.

172. Plaintiff researched the pool operation requirements and, the next day, emailed
Olmo setting forth the amount of work and additional responsibilities, meeting and after-work
hours that oversight of the pool would require. Plaintiff advised she would be happy to discuss
the transfer as long as her salary was adjusted to match other (male) department heads who took
over subdivisions in their departments, and included a list of such department heads and their

salaries. She never received a response.

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173. Amid the backdrop of years of harassment and hostile work environment, and with
the Borough initially ignoring her formal complaint and later dawdling on its follow-up, Plaintiff

resigned effective November 18, 2022.

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COUNT ONE
TIPLE VU - UNLAWFUL DISCRIMINATION AND RETALIATION

1, Plaintiff repeats cach and every allegation of the preceding paragraphs of the
Complaint as 1f fully set forth herein.

2. The acts and conduct of Defendants as stated above where Plaintiff was treated
differently from male co-workers as to the terms, compensation, conditions, privileges and benefits
of employment and subjected to adverse employment actions, hostile work environment and
retaliation because of her gender were all in violation of Title VII of the Civil Rights Act of 1964,
as amended by the Civil Rights Act of 1991.

3. As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff has
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress.

4. As a result of those actions and consequent harms, Plaintiff is entitled to all legal
and equitable remedies available including, but not limited to, compensatory and punitive
damages, in amounts to be determined at trial. Plaintiff is further entitled to an award of reasonable
attorneys’ fees and costs.

COUNT TWO
TIPLE VIL - HOSTILE WORK ENVIRONMENT

S. Plaintiff repeats each and every allegation of the preceding paragraphs of the
Amended Complaint as if fully set forth herein.

6. The acts and conduct of Defendants as stated above by which Plaintiff was treated
differently from male co-workers as to the terms, compensation, conditions, privileges and benefits

of employment and subjected to adverse employment actions, hostile work environment and

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retaliation because of her gender was all in violation of Title VII of the Civil Rights Act of 1964,
as amended by the Civil Rights Act of 1991.

7. As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff has
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress.

8. As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff has
suffered losses in compensation, carning capacity, humiliation, mental anguish, and emotional
distress. As a result of those actions and consequent harms, Plaintiff is entitled to all legal and
equitable remedies available including, but not limited to, compensatory and punitive damages, in
amounts to be determined at trial. Plaintiff is further entitled to an award of reasonable attorneys’

fees and costs.

UNLAWFUL DISCRIMINATION AND RETALIATION UNDER NJLAD

9. Plaintiff repeats and realleges each and every allegation set forth in the preceding
paragraphs of the Amended Complaint as if fully set forth herein.

10. Plaintiff's gender are protected traits under NJLAD.

1]. By and through its course of conduct as alleged herein, Defendant Borough of
Paramus and its agents discriminated against the Plaintiff by refusing to pay her equally on the
basis of her gender in violation of the NJLAD.

12, Defendant's conduct was intentional, deliberate, willful, and conducted in callous
disregard of the protected rights of Plaintiff.

13. Detendant’s policies and practices resulted in Plaintiff being subject to disparate

treatment on the basis of sex.

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14, Defendant subjected Plaintiff to an adverse employment action by paying her less
than stmilarly situated male employees and by i ignoring hostile and aggressive conduct directed
toward her in the workplace.

15, Defendant had no legitimate, nondiscriminatory reason for its refusal to pay
Plaintiff in a range of similarly situated male employees. Defendant instead paid male employees
larger salaries. Plaintiff was not fairly compensated as a direct and proximate result of her gender.

16, Defendant’s unlawful actions were intentional, willful, malicious and/or done with
reckless disregard for Plaintiff's rights,

17. Asadirect and proximate result of Defendant’s discriminatory actions, Plaintiffhas
suffcred losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress.

18. Asa direct and proximate result of Defendant’s discriminatory actions, Plaintiffhas
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress. As a result of those actions and consequent harms, Plaintiff is entitled to all legal and
equitable remedies available including, but not limited to, compensatory and punitive damages, in
amounts to be determined at trial. Plaintiff is further entitled to an award of reasonable attomeys’
fees and costs.

CGUNT FOUR
AIDING & ABETTING VIOLATIONS OF THE NJLAD

19. Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs of the Complaint as if fully set forth herein.

20. Plaintiff's gender is a protected trait under NILAD.

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21. Plaintiff was subjected to Defendants’ verbal, visual and physical behaviors that
constituted harassment, abuse, hostile environment and discrimination because of her protected
trait.

22, The harassment, abuse, hostile environment and discrimination set forth herein
would not have occurred but for Plaintiffs protected trait.

23 All harassment, abuse, hostile environment and discrimination described herein
was sufficiently severe or pervasive enough to make a reasonable person in Plaintiff's position
belteve that the conditions of her position were altered and that the environment was intimidating,
hostile, or abusive.

24, All of the harassment, abuse, hostile environment and discrimination claimed
herem was unwelcome and was continuous, regular, and ongoing such that it is all actionable under
the continuing violation doctrine.

25, Defendants created, promoted, and fostered a discriminatory, harassing, and
abusive atmosphere, and they each participated in, allowed, promoted, aided and abetted actions
against Plaintiff that consisted of harassment, abuse, hostile environment and discrimination based
on protected trails.

26. NJLAD prohibits conduct that aids or abets unlawful discrimination and
harassment.

27. At all relevant times hereto, Defendants were decision makers with regard to
Borough operations and failed to take prompt, appropriate, and/or reasonable remedial measures
io prevent, stop, and remedy the harassment, abuse, hostile environment and discrimination aimed

at Plaintiff.

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28. At all relevant times hereto, Defendants knowingly and substantially assisted
themselves and one another in violations of NJLAD.

29. At all relevant times hereto, Defendants were aware of their role in the overall,
legal, unlawful activity at the time that the aforesaid conduct occurred.

30. As a result of the conduct set forth herein, Defendants are subject to individual
lability pursuant to the NILAD.

31. The aforesaid acts of Defendants in aiding and abetting harassment, abuse, hostile
environment and discrimination based on Plaintiff's protected traits violated her rights under

NJLAD, causing her harm.

COUNT FIVE
HOSTILE WORK ENVIRONMENT UNDER NJLAD

32. Plaintiff repeats and realleges each and every allegation set forth in the preceding
paragraphs of the Complaint as if fully set forth herein.

33. By and through its course of conduct as alleged herein, Defendant Borough of
Paramus and its agents and named Defendants discriminated against the Plaintiff by subjecting
Plaintiff to a hostile work environment on the basis of her gender and in violation of the NJLAD.

34. Defendants’ conduct was intentional, deliberate, willful, and conducted in callous
disregard of the protected rights of Plaintiff.

35. Defendants’ policies and practices resulted in Plaintiff being subject to an
environment that a reasonable person would find to be hostile as a result of the severe and
pervasive conduct carried about by the Borough of Paramus and its agents on the basis of Plaintiff’s

gender.

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6. Defendants had no legitimate, nondiscriminatory reason for its treatment of

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Plaintiff.

37. Defendants’ unlawful actions were intentional, willful, malicious and/or done with
reckless discegard for Plamtuff’s rights.

38. Asadirect and proximate result of Defendant’s discriminatory actions, Plaintiff has
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress.

39. Asadirect and proximate result of Defendants’ discriminatory actions, Plaintiff has
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress. As a result of those actions and consequent harms, Plaintiff is entitled to all legal and
equitable remedies available including, but not limited to, compensatory and punitive damages, in
amounts to be deiermined at trial. Plaintiff is further entitled to an award of reasonable attomeys’
fees and costs.

UNLAWFUL RETALIATION UNDER NJCEPA

40. Plaintiff repeats each and every allegation of the preceding paragraphs of the
Complaint as if fully set forth herein.

41. Defendants took adverse employment action against Plaintiff because she disclosed
contumacious and actionable conduct which she reasonably believed was in violation of a law, or
a rule or regulation promulgated pursuant to law.

42. Defendants’ actions constitute a violation(s) of the New Jersey Conscientious

Employee Protection Act, N.J.S.A. 34:19-1, et seq.

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43, Defendants’ unlawful actions were intentional, willful, malicious and/or done with
reckless disregard for Plaintiff's rights.
44, Asa direct and proximate result of Defendants’ discriminatory actions, Plaintiff has

suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress.

45. Asa direct and proximate result of Defendants’ discriminatory actions, Plaintiff has
suffered losses in compensation, earning capacity, humiliation, mental anguish, and emotional
distress. As a result of those actions and consequent harms, Plaintiff is entitled to all legal and
equitable remedies available including, but not limited to, compensatory and punitive damages, in
amounts to be determined at trial. Plaintiff is further entitled to an award of reasonable attorneys’

fees and costs.

DECOTIIS, FITZPATRICK, COLE
& GIBLIN, LLP
Attorneys for Plaintiff

By: __ /s/ Gregory J. Hazley

Dated: Decentber 27, 2022

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VERIFICATION OF COMPLAINT

Megan. Schaffer _» Of full age, does hereby certify as follows:

 

1. I have read the foregoing Verified Complaint and am familiar with the
contents thereof.

2. To the best of my personal knowledge and belief, all of the facts set forth in
said Verified Complaint are true and correct, except such statements which
are qualified as being made upon information and belief.

{ hereby certify that the foregoing statements are true and correct and that if any of such
statements are willfully false I am subject to punishment.

ae Oot tf.
slegan Schaffer

Megan Schaffer

 

 

Dated: December 27, 2022

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CERTIFICATION PURSUANT TO RULE 4:5-1(b)(2)

Gregory J. Hazley, an attorney-at-law of the State of New Jersey, hereby certifies to the

best of his knowledge, information, and belief as follows:

I. Except as set forth herein, the matter in controversy in this action is not the subject
of any other action pending in any Court or of a pending arbitration proceeding and no such other
action or proceeding is contemplated.

2. Except for such persons or entities as may be identified and joined in place of the

John Doe defendants, to the best of my knowledge as of the present time, there is no other party

that should be joined in the within action.

DECOTHS, FITZPATRICK, COLE
& GIBLIN, LLP
Attorneys for Plaintiff

By: __ 4s/ Grezory J. Hazle\:

Dated: December 27, 2022

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CERTIFICATION OF COMPLIANCE WITH RULE 1:38-7(c)

Gregory J, Hazley, an attorney-at-law of the State of New Jersey, hereby certifies to the
best of my knowledge, information, and belief as follows:

L. [am an associate with the law firm of DeCotiis, FitzPatrick, Cole & Giblin, LLP,
attorneys for Plaintiffs, and I am the person entrusted with the conduct and management of this
litigation.

2, Confidential personal identifiers have been redacted from documents submitted to
the court, and will be redacted from all documents submitted in the future in accordance with
Rule 1:38-7(b).

I certify that the foregoing statements made by me are true. Tam aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

DECOTHS, FITZPATRICK, COLE
& GIBLIN, LLP
Attorneys for Plaintiff

By: __ /s/ Gregory J. Hazley

Dated: December 27, 2022

JURY DEMAND

Plaintiffs hereby demands trial by jury on all issues so triable.
DESIGNATION OF TRIAL COUNSEL

In accordance with Rule 4:5-1(c), the Plaintiffs hereby designate Gregory J. Hazley, Esq.,

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as trial counsel.

DECOTUS, FITZPATRICK, COLE
& GIBLIN, LLP

Attorneys for Plaintiff
By: _ /s/ Gregory: J. Hazley

Dated: December 27, 2022

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Civil Case Information Statement

Case Details: BERGEN [ Civil Part Docket# L-006846-22

Case Caption: SCHAFFER MEGAN VS BOROUGH OF Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
PARAMUS Document Type: Complaint with Jury Demand

Case Initiation Date: 12/27/2022 Jury Demand: YES - 6 JURORS

Attorney Name: GREGORY J HAZLEY Is this a professional malpractice case? NO

Firm Name: DE COTIIS FITZPATRICK COLE & GIBLIN LLP Related cases pending: NO

Address: 61 S PARAMUS RD STE 250 If yes, list docket numbers:

PARAMUS NJ 07652 Do you anticipate adding any parties (arising out of same
Phone: 2019281100 transaction or occurrence)? YES

Name of Party: PLAINTIFF : Schaffer, Megan Does this case involve claims related to COVID-197 NO

Name of Defendant's Primary Insurance Company

(if known): Unknown Are sexual abuse claims alleged by: Megan Schaffer? NO

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? YES

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title $9? NO Consumer Fraud? NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

12/27/2022 /si GREGORY J HAZLEY
Dated Signed

 

 
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK NJ 07601-7680
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

DATE: DECEMBER 27, 2022
RE: SCHAFFER MEGAN. VS BOROUGH OF PARAMUS
DOCKET: BER L -006846 22

THE ABOVE CASE HAS BEEN ASSIGNED TO: ‘TRACK 3.

DISCOVERY IS 450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE PRETRIAL JUDGE ASSIGNED IS: HON ROBERT C. WILSON

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 002
AT: (201) 527-2600.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
ATTENTION:

ATT: GREGORY J. HAZLEY

DE COTIIS FITZPATRICK COLE & G

61 S PARAMUS RD

STE 250

PARAMUS NJ 07652

ECOURTS

 
